[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
Date of Sentence              May 13, 1993 Date of Application           June 9, 1993 Date Application Filed        June 9, 1993 Date of Decision              October 22, 1998
Application for review of sentence imposed by the Superior Court, Judicial District of Waterbury.
Docket No. CR91-196561
Karen Diebolt, Esquire, Defense Counsel, for Petitioner.
Eva B. Lenczewski, Esquire, Assistant State's Attorney, for the State.
Sentence Affirmed
The petitioner was convicted after a jury trial of Felony Murder, Manslaughter 1st Degree with a Firearm, Robbery 1st and Conspiracy to Commit Robbery 1st Degree.
The petitioner was sentenced to an effective sentence of 55 years in prison. The petitioner received a sentence of 45 years for the Felony Murder concurrent sentences for the manslaughter and Robbery counts. On the Conspiracy to Commit Robbery count the petitioner received a 10 year sentence consecutive to the 45 year sentence for Felony Murder.
The events that underlie these convictions occurred on August 5th, 1991. On that date a food delivery man named Fei Young was robbed by a group of men and shot and killed in the course of that robbery.
Evidence presented at the trial indicated that the petitioner was active in the planning of that robbery, that he assigned various tasks to the other participants in the crime, that he placed the order that lured the deliveryman to his death, that he CT Page 12772 confronted and robbed the victim and that he picked himself as the gunman in the robbery and that he fired the shot that killed the victim after the victim started to holler and run.
The maximum period of incarceration for the Felony Murder could have been 60 years in prison. The 45 years that the petitioner did receive is far short of the maximum. The 10 year sentence that the petitioner received for the Conspiracy to Commit Robbery reflects his leadership role in this case.
One of the legitimate goals of sentencing is the protection of law abiding citizens from those who present a clear and present danger to their safety and well being. The petitioner has shown by his actions that it is not safe to allow him to live as a free man in society. The 55 year sentence fairly addresses the continuing threat that an individual like Gerrod Ellis presents to the public. The sentence is not inappropriate or disproportionate. The sentence is affirmed.
O'Keefe, Miano and Iannotti, J.s, participated in this decision.